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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     KENNY BROWN,                                          Case No. 21-cv-08292-YGR (PR)
                                                          Petitioner,                          ORDER DISMISSING PETITION AS
                                   8
                                                                                               SUCCESSIVE
                                                   v.
                                   9

                                  10     DANNY SAMUEL, Warden,
                                                          Respondent.
                                  11

                                  12            Petitioner, a state prisoner, filed this pro se petition for writ of habeas corpus pursuant to
Northern District of California
 United States District Court




                                  13   28 U.S.C. § 2254. Dkt. 1. He has paid the full filing fee. Dkt. 1-2. Petitioner has filed a previous

                                  14   petition for a writ of habeas corpus with this Court, challenging the same conviction and sentence.

                                  15   See Case No. 17-cv-01409-YGR (PR). The Court dismissed his previous petition as untimely

                                  16   under 28 U.S.C. § 2244(d)—the statute of limitations set by the Antiterrorism and Effective Death

                                  17   Penalty Act of 1996. Dkt. 77 in Case No. 17-cv-01409-YGR (PR). Petitioner appealed the

                                  18   dismissal to the Ninth Circuit Court of Appeals. Dkt. 79 in Case No. 17-cv-01409-YGR (PR). On

                                  19   April 20, 2021, Petitioner’s request for a certificate of appealability was denied by the Ninth

                                  20   Circuit. Dkt. 84 in Case No. 17-cv-01409-YGR (PR).

                                  21                                                DISCUSSION

                                  22            The Court finds the present petition is a second or successive petition attacking the same

                                  23   conviction and sentence as petitioner’s prior federal habeas petition. A second or successive

                                  24   petition containing new claims may not be filed in the district court unless petitioner first obtains

                                  25   from the United States Court of Appeals an order authorizing the district court to consider the

                                  26   petition. 28 U.S.C. § 2244(b)(3)(A). Petitioner has not done so. Accordingly, this petition is

                                  27   DISMISSED without prejudice to filing a new habeas action if petitioner obtains the necessary

                                  28   order.
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                                   1                                             CONCLUSION

                                   2          For the foregoing reasons, the petition is DISMISSED pursuant to 28 U.S.C. § 2244(b).

                                   3          The Clerk of the Court shall terminate all pending motions, including petitioner’s motion

                                   4   for appointment of counsel (dkt. 3), and close the file.

                                   5          This Order terminates Docket No. 3.

                                   6          IT IS SO ORDERED.

                                   7   Dated: November 3, 2021

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                                                                                             JUDGE YVONNE GONZALEZ ROGERS
                                  10                                                         United States District Judge
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                                  12
Northern District of California
 United States District Court




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